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              EXHIBIT D
Case 2:21-cv-07682-DSF-JEM Document 31-5 Filed 11/08/21 Page 2 of 8 Page ID #:975




      From:            Vuong Rumduol@DFEH
      To:              Baca Elena R ; Perry Ryan P
      Cc:              Mesjnas Soyeon@DFEH; Hosseinian Azadeh@DFEH ; Davis Felicia A
      Subject:         [EXTI RE: Kish v. Blizzard, et al, Tolling Agreement Extension
      Date:            Wednesday, June 23, 2021 4:26:55 PM
      Attachments:     imaoe00l. png



      Dear Counsel:


      Please be advised that DFEH and EEOC have engaged in further dialogue and EEOC has apologized for asserting that EEOC has
     jurisdiction over the DFEH's Director's Complaint. EEOC has affirmed that DFEH has jurisdiction to investigate claims alleged in its
      Director's Complaint. If you have any questions about EEOC's misstatement, please contact Rosa Viramontes, Director of EEOC's Los
      Angeles District Office. Accordingly, please confirm whether your clients would like to proceed as planned to mediate with Mark
      Rudy in December and send us the extension of the tolling agreement by COB tomorrow.


      Rumie



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      and destroy all copies of the communication




      From: Baca, Elena R.<ElenaBaca@paulhastings.com>
     Sent: Tuesday, June 15, 2021 3:00 PM
     To: Vuong, Rumduol@DFEH <Rumduol.Vuong@dfeh.ca.gov>; Derry, Ryan D.<ryanderry@paulhastings.com>; ANNA PARK
      <ANNA.PARK@EEOC.GOV>
      Cc: Mesinas, Soyeon@DFEH <Soyeon .Mesinas@dfeh.ca.gov>; Hosseinian, Azadeh@DFEH <Azadeh.Hosseinian@dfeh.ca.gov>; Davis,
      Felicia A.<feliciadavis@paulhastings.com>
     Subject: RE : Kish v. Blizzard, et al, Tolling Agreement Extension



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     +EEOC/Anna



      Rumi - We are genuinely uncertain how to proceed. There are two concurrently filed, overlapping complaints . The EEOC has
      asserted jurisdiction . Your office apparent ly has a different view. We hope you understand that it puts the Company in an
      uncomfortable position to be asked to be the arbiter between the two positions. As we stated yesterday, we suggest we wait until
      there is final word from both agencies on the jurisdiction; we assume that could happen before we would need to agree to any
      further extension . We are not aiming to put the DFEH in a position where the statute would run during your current discussion with
      the EEOC.




                                    Elena R. Baca I Partner
                                    Paul Hastings LLP I 515 South Flower Street, Twenty-Fifth Floor, Los Angeles, CA 90071           I
                                    Direct: +1 .213.683 .6306 I Main: +1.213.683.6000 I Fax: +1.213 .996.3306 I
                                    elenabaca@pau lhastings .com I www.paulhastings .com




      From: Vuong, Rumduol@DFEH <Rumduol.Vuong@dfeh .ca .gov>
     Sent: Tuesday, June 15, 202112:57 PM
     To: Derry, Ryan D.<ryanderry@paulhastings .com>
      Cc: Mesinas, Soyeon@DFEH <Soyeon .Mesinas@dfeh .ca .gov>; Hosseinian, Azadeh@DFEH <Azadeh .Hosseinian@dfeh .ca .gov>; Baca,
      Elena R. <ElenaBaca@paulhastings.com>; Davis, Felicia A. <feliciadavis@pau lha stings.com>
     Subject: [EXT) RE: Kish v. Blizzard, et al, Tolling Agreement Extension
Case 2:21-cv-07682-DSF-JEM Document 31-5 Filed 11/08/21 Page 3 of 8 Page ID #:976




      Dear Ryan,


      As we have noted in our prior email, DFEH disagrees with Anna Park's claim of jurisdiction over this state investigation. Indeed, as
      DFEH has explained its position on numerous occasions that EEOC cannot pursue alleged violations of state law and cannot assert
     jurisdiction over a DFEH -initiated investigation concerning such allegations.


     There is simply no authority supporting Anna Park's claim . For example, the worksharing agreement she relies upon plainly states:
      "This delegation of authority to receive charges does not include the right of one Agency to determine the jurisdiction of the other
      Agency over a charge. Charges can be transferred from one agency to another in accordance with the terms of this agreement or by
      other mutual agreement." Worksharing Agreement between EEOC and DFEH, Section II.A. DFEH has not agreed to transfer its DFEH
      Director's Complaint to EEOC. Moreover, Title VII provides deference to state civil rights enforcement by state agencies, where
      possible, to avoid unnecessary federal intervention . Title VII, Section 706{c) and {d) . Finally, as Anna Park acknowledges in a prior
      email, she does not even have authority over the EEOC's investigation or the worksharing agreement, and your client should not rely
      on her misrepresentations.


      DFEH will continue to pursue its investigation, including taking the necessary action to preserve our rights . Respondents' continued
      refusal to provide an answer on whether it will enter in an extension of the tolling agreement cannot be seen as anything other than
      a contravention pf the good faith efforts DFEH has made to work with Respondent in this investigation.


      Rumie




      From: Derry, Ryan D.< ryanderry@pau lhastings.com >
      Sent: Monday, June 14, 2021 5:34 PM
     To: Vuong, Rumduol@DFEH <Rumduo!.Vuong@dfeh .ca .gov>
      Cc: Mesinas, Soyeon@DFEH <Soyeon .Mesinas@dfeh .ca gov>; Hosseinian, Azadeh@DFEH <Azadeh Hossein ian@dfeh .ca .gov>; ROSA
      VIRAMONTES <ROSA.VIRAMONTES@EEOC.GOV>; ANNA PARK <ANNA .PAR K@EEOC.GOV>; Baca, Elena R.
      <elenabaca@pau lhastings.com >; Davis, Felicia A. <feliciadayis@pau lhastings com>
      Subject: RE: Kish v. Blizzard, et al, Tolling Agreement Extension



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      Rumie - It is our understanding that the EEOC asserted jurisdicti on . After we received you r email on Frida y, there was another email
     from the EEOC on the subject. We suggest we wait until there is final word on the jurisdiction issue to connect; we assume that could
      happen before we would need to agree to any further extension .


      Best,




      From: ANNA PARK <ANNA .PAR K@EEOC.GOV>
     Sent: Friday, June 11, 2021 7:12 PM
     To: Vuong, Rumduol@DFEH <Rumd uol .Vuong@dfeh .ca .gov>; Baca, Elena R.< ElenaBaca@pau lhastings .com >; Davis, Felicia A.
      <feliciadavis@paulhastings .com >; Derry, Ryan D.< ryanderry@pau lhastings.com >
      Cc: Mesinas, Soyeon@DFEH <Soyeon .Mesinas@dfeh .ca .gov>; Hosseinian, Azadeh@DFEH <A7adeh.Hosseinian@dfehca .gov>; ROSA
     VIRAMONTES <ROSA.VIRAMONTES@EEOC.GOV>
     Subject: [EXT] Re : Kish v. Blizzard, et al, Tolling Agreement Extension


     Rumie,

      I think the issue relates to not the DFEH's director's charge but the fact that the EEOC's Commissioner's and the interplay
     with the DFEH Director's charge. The DFEH Director's charge is a duplicate and therefore EEOC has jurisdiction over this
     investigation.

     Anna

     Get Outlook for iOS

      From: Vuong, Rumduol@DFEH <Rumd uol.Vuong@dfeh .ca.gov>
     Sent: Friday, June 11, 2021 4:59:32 PM
Case 2:21-cv-07682-DSF-JEM Document 31-5 Filed 11/08/21 Page 4 of 8 Page ID #:977




     To: Baca, Elena R.<elenabaca@pau lhastings.com >; Davis, Felicia A. <feliciadavis@paulhastings.com >; Derry, Ryan D.
     <ryanderry@pa ulh astings.com >
     Cc: Mesinas, Soyeon@DFEH <Soyeon .Mesinas@dfehca .gov>; Hosseinian, Azadeh@DFEH <Azadeh .Hosseinian@dfeh .ca .gov>; ANNA
     PARK <ANN A.PARK@EEOC.GOV>
     Subject: RE : Kish v. Blizzard, et al, Tolling Agreement Extension


     Elena,


     You asked in this email chain whether DFEH would defer our case to EEOC. As we said before, DFEH is not deferring the DFEH's
     Director' s Complaint as it asserts the department's state law claims that cannot be pursued by EEOC. DFEH has been conducting an
     agency- initiated investigation under state law since 2018 and you are nonetheless requesting that DFEH defer its case at the end of
     the investigation to EEOC for the convenience of your client despite that as all parties agree, each agency can make its own findings
     and prosecute claims under FEHA or Title VII. DFEH has continued to accommodate numerous requests for extensions on responses
     to investigative discovery and thereby reduced your client's burdens. Accordingly, the tolling agreement is justified to demonstrate
     your client's good faith in eventually complying with its FEHA discovery obligations rather than running out the clock. As such, before
     we entertain any further questions which we have thoroughly answered, we request that you confirm by Monday whether your client
     has seen and approved the tolling agreement.


     Rumie


     From: Baca, Elena R.< ElenaBaca@paulhastings .com>
     Sent: Friday, June 11, 2021 2:58 PM
     To: Vuong, Rumduol@DFEH <Ru mduol Vuong@d feh.ca .gov>; Davis, Felicia A. <feliciadavis@pau lhast ings com >; Derry, Ryan D.
     <ryanderry@paul hastings.com>
     Cc: Mesinas, Soyeon@DFEH <Soyeon Mesinas@dfehca .gov>; Hosseinian, Azadeh@DFEH <Azadeh .Hosseinian@dfeh .ca gov>; ANNA
     PARK <ANNA.PARK@EEOC.GOV>
     Subject: RE: Kish v. Blizzard, et al, Tolling Agreement Extension



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     + EEOC/Anna Park


     Rumie-


     Thank you for letting us know the agencies have connected . We are unclear as to w hat your statement means when you say, "We do
     not agree with the EEOC's position." Are you able to provide us with more clarity?


     In the meantime, we will connect w it h our client .


     Many thanks




                                  Elena R. Baca I Partner

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                                  Direct: +1 .213.683 .6306 I Main: +1.213.683.6000 I Fax: +1.213.996.3306 I
                                  elenabaca@paulhastings .com I www .paulhastings.com




     From: Vuong, Rumduol@DFEH <Rumduo l. Vuong@d feh .ca.gov>
     Sent: Friday, June 11, 202111:28 AM
     To: Baca, Elena R.<ElenaBaca@paulhastings .com >; Davis, Felicia A. <fel iciadavis@paulhastings.com>; Derry, Ryan D.
     <rya nderry@pau Ihastings.com>
     Cc: Mesinas, Soyeon@DFEH <Soyeon Mesinas@dfeh .ca .gov>; Hosseinian, Azadeh@DFEH <Azadeh. Hosseinian@dfeh.ca.gov>
     Subject: [EXT] RE: Kish v. Blizzard, et al, Tolling Agreement Extension
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       Elena,




   I
       The DFEH and EEOC have conferred as you suggested . We do not agree with EEOC's position . Plea se confirm by Monday whether
       Bli zzard w ill agree to tolling to allow Blizzard and DFEH to attend the December 2020 mediation scheduled with Mark Rudy. Also
       please confirm whether your client is fully informed regarding DFEH's request for tolling to allow for the mediation with Mark Rudy.


       Rumie


       From: Baca, Elena R.< ElenaBaca@pau lhastings .com>
       Sent: Wednesday, June 9, 2021 3:59 PM
       To: Vuong, Rumduol@DFEH <Rumduo l Vuong@dfeh.ca.gov>; Davis, Fel icia A. <feliciadavis@paulhastings .com >; Derry, Ryan D.
       <ryanderry@paulhastings.com>
       Cc: Mesinas, Soyeon@DFEH <Soyeon .Mesinas@dfeh .ca.gov>; Hosseinian, Azadeh@DFEH <Azadeh .Hosseinian@dfeh .ca .gov>; ANNA
       PARK <ANNA.PARK@EEOC.GOV>
       Subject: RE : Kish v. Blizzard, et al, Tolling Agreement Extension



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       + EEOC/Anna Park


       Rumie-


       Than k you for the continued dialogue on these issues. As you note, we would like more insight an d assistance from the Agency and
       EEOC on the question of jurisdiction and, in turn, the need for a to lling agreement. Based on the email we both received from the
       EEOC after your message, with the EEOC asserting jurisdiction and a dual filed charge predating that of the DFEH, it is our
       understanding that the EEOC ha s jurisdiction.


       We want to be clear that we are not trying to make things difficult for the Agency. From the outset, our clients have been
       cooperating with respect to producing documents, witnesses, and information and scheduling. We have also been asking about the
       jurisdiction issues and potential substantive concerns the Agency may have; proceeding on parallel tracks ha s resu lted in our clients
       expending significa nt time, effort and interna l resources . We do not believe this would be t he Agency's intended goal. We, however,
       wou ld appreciate understa nding whether-given the workshare agreement and the EEOC's assertion of ju risdiction-we can reduce
       the burden on our clients with one agency, the EEOC, handling these matters.


       We suggest that, rather than force an issue on the tolling agreement question with in 24 hours, we defer the conversation at least a
       week to allow the DFEH and EEOC to confer further. The reality is that there is insufficient time in the next 2.5 weeks for the Agency
       to finish gathering information, conclude its investigation, provide us with notice of what we might be mediating, participate in
       mediation and, assuming that mediation were t o fai l, 10 days thereafter, initiate litigation . Nor does it make sense for us and the
       DFEH to focus furth er resources on this investigation if, ultimately, the DFEH will be passing t hese issues to the EEOC. Thu s, whether
       we have to make the decision now or in anot her week, when we have more clarity, would seem immaterial. At a minimum, our
       clients would agree to extend the toll ing agreement by a week, to allow the Agency and EEOC time to confer.


       Please let us know if th is path is acceptable to the DFEH .


       Thanks,




                                    Elena R. Baca I Partner

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                                    elenabaca@pau lhastings .com I www.pau lhastings.com




       From: Vuong, Rumduol@DFEH <Rumduol.Vuong@dfeh .ca .gov>
       Sent: Tuesday, June 8, 2021 3:43 PM
       To: Baca, Elena R.<ElenaBaca@paulhastings.com >; Davis, Felicia A. <feliciadavis@pau lhastings.com >; Derry, Ryan D.
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      <rya nderry@pa u !hastings.com >
      Cc: Mesinas, Soyeon@DFEH <Soyeon Mesinas@dfeh.ca.gov>; Hosseinian, Azadeh@DFEH <Azadeh .Hossejnian@dfeh .ca .gov>
      Subject: [EXT] RE : Kish v. Blizzard, et al, Tolling Agreement Extension


      Hi Elena,


      We appreciate your response but I think there may be some confusion as to the tolling issue.


      The operative complaint for DFEH's investigation is a director's compliant which alleges group claims. While the one year statute of
      limitations for individuals who have been issued a right to sue can be tolled where either DFEH defers the investigation of the charge
      to EEOC (Cal. Govt Code Section 12965(d)(1)) or EEOC defers the investigation to DFEH (Cal. Govt Code Section 12965(e)(1)), there is
      no statutory provision tolling the deadline for DFEH to pursue a civil action because the charges are dually filed . As such, a tolling
      agreement is necessary regardless of the parameters of the respective investigations.


      DFEH intends to complete its investigation by the deadline regardless of whether it is the current July deadline or the proposed
      extension in our agreement. DFEH needs to know by COB tomorrow {June 9) whether Respondents intend to agree to an
      extension of the tolling agreement. While we remain open to negotiating the terms of the extension, if Respondents are unwilling
      to agree to an extension, DFEH will need to begin the process of arranging for an internal mediation in June and file suit before July 7,
      2021 since the case expires on July 7, 2021 without an extension.


      Lastly, if it is Respondents' intention to no longer agree to an extension, DFEH would request that Respondents provide dates in the
      next 2-3 weeks for those witnesses previously identified.


      Rumie


      From: Baca, Elena R. <ElenaBaca@pau lhast ings .com >
      Sent: Tuesday, June 8, 202111 :55 AM
     To: Vuong, Rumduol@DFEH <Rumduol.Vuong@dfeh ca.gov>; Davis, Felicia A. <feliciadavis@pau lhastings.com>; Derry, Ryan D.
      <ryanderry@paulhastings.com >; 'ANNA PARK' <ANNA .PARK@EEOC.GOV>
      Cc: Mesinas, Soyeon@DFEH <Soyeon .Mesinas@dfeh.ca.gov>; Hosseinian, Azadeh@DFEH <Azadeh .Hosseinian@dfeh .ca.gov>
      Subject: RE: Kish v. Blizzard, et al, Tolling Agreement Extension



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      Hi Rumie - Thank yo u for your email. We were hoping to get some clarity from both of the agencies, given the overlap and dual-
     filing . It is our unde rstanding that, under the Government Code, if the state does not complete its invest igation in t he time allotte d, it
      may defer the investigation to th e EEOC (which first asserted jurisdictio n). Thus, we thought it might be an option t he DFEH might
      agree to, rather than have paral lel proceedings . Do you know whether there are any discussions between the agencies as to how
      best to proceed? It wou ld be hel pful to know this, as it would seem to impact whether a new tol ling agreement is necessary, at all.
      Or, do you have an alternative suggesti on as t o the best way to sort th is out? As always, we appreciate you r continued cooperation.




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                                   elenaba ca@pau lhastings .com I www .paulhast ings.com




     From: Vuong, Rumduol@DFEH <Rumduo l. Vuong@dfeh .ca.goy>
     Sent: Monday, June 7, 2021 8:15 AM
     To: Baca, Elena R. <ElenaBaca@paulhastings .com >; Davis, Felicia A.<feliciadavis@paulhastings.com >; Derry, Ryan D.
     <ryanderry@paulhastings .com >; 'ANNA PARK' <ANNA.PARK@ FEOC.GOV>
     Cc: Mesinas, Soyeon@DFEH <Soyeon .Mesinas@dfeh .ca.gov>; Hosseinian, Azadeh@DFEH <Azadeh .Hosse inian@dfeh .ca gov>
     Subject: [EXT] RE : Kish v. Blizzard, et al, Tolling Agreement Extension
Case 2:21-cv-07682-DSF-JEM Document 31-5 Filed 11/08/21 Page 7 of 8 Page ID #:980




     Dear Elena,


     We appreciate your update on the tolling agreement. EEOC's investigation pertains to claims under Title VII for which there is no
     expiration and does not pertain to FEHA claims. DFEH is investigating claims under applicable California law, FEHA, etc. While there
     is no deadline for EEOC to file suit under Title VII, the dual filing does not preserve DFEH's claims under applicable state law that will
     expire without a tolling agreement. Specifically, as you are aware, DFEH's civil actions are governed by California Government Code
     Section 12965, which does impose a deadline by which DFEH must file a civil action .


     Rumie


     From: Baca, Elena R.< ElenaBaca@paul hastings.com >
     Sent: Friday, June 4, 2021 6:57 PM
     To: Vuong, Rumduol@DFEH <Rumduol.Vuong@dfehca .gov>; Davis, Felicia A. <feliciadavis@paulhastings .com>; Derry, Ryan D.
     <ryanderry@paulhastings.com>; 'ANNA PARK' <ANNA .PAR K@EEOC GOV>
     Cc: Mesinas, Soyeon@DFEH <Soyeon .Mesinas@dfeh .ca.gov>; Hosseinian, Azadeh@DFEH <Azadeh .Hosseinian@dfeh .ca .gov>
     Subject: RE : Kish v. Blizzard, et al, Tolling Agreement Extension



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      Rumie-


     Thank you for sen ding the draft to lling agreement.


     As we looked to revise it, it occu rred to us t hat extend ing the toll ing agreement may be unnecessary, given the overlapping EEOC
      dually-filed Commissioners Cha rge. At a minimum, we need to understand the jurisdictional issues, since the EEOC's Comm issioners
      Charge was dua lly-fi led and issued September 2018, the month before the DFEH 's Director's Complaint (which is also dually-filed).


      It' s our understanding that the EEOC has asserted jurisdiction and, thus, we have been responding to the EEOC. We have added Anna
      Park from the EEOC to this emai l in the hopes that we can come to some understanding on these jurisdictional issues .




                                  Elena R. Baca! Partner

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                                  elenabaca@pau lhastings .com I www .pau lhasting s.com
                                                                                                                                        I




      From: Vuong, Rumduol@DFEH <Rumduol.Vuong@dfeh .ca .gov>
     Sent: Tuesday, May 25, 202110:37 AM
     To: Baca, Elena R. <ElenaBaca@paulhastings com >; Davis, Felicia A. <feliciada vis@paulhastings.com>; Derry, Ryan D.
     <rya nderry@pau l hasting s. com>
     Cc: Mesinas, Soyeon@DFEH <Soyeon .Me si na s@dfeh .ca .gov>; Hosseinian, Azadeh@DFEH <Azadeh .Hosseinian@dfeh .ca .gov>
     Subject: [EXT] Kish v. Blizzard, et al, Tolling Agreement Extension

      Dear Counsel,


      Pursuant to our meet and confer on Friday, DFEH agreed to float a draft agreement to extend our current tolling agreement to
      account for the December 9, 2021 mediation with Mark Rudy's office . DFEH is in agreement with Respondents that a pre-mediation
      meeting will be helpful and look forward to discussing what this meeting will entail closer to the mediation date. Please find attached
     to this email, a draft of the agreement to extend the current tolling agreement along with the original executed tolling agreement.


      Rumie
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